      Case 1:12-cv-07868-MGC Document 4 Filed 03/01/13 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------X

RENE TELLIER,

                      Petitioner,           MEMORANDUM OPINION
                                            AND ORDER
          -against-
                                            12 Civ. 7868 (MGC);
                                            92 Cr. 869 (MGC)
UNITED STATES OF AMERICA,

                    Respondent.
----------------------------------X

APPEARANCES:

          RENE TELLIER
          Petitioner pro se
          USP Allenwood
          P.O. Box 3000
          White Deer, Pennsylvania 17887


          PREET BHARARA
          United States Attorney for the
          Southern District of New York
          Attorney for Respondent
          One Saint Andrew’s Plaza
          New York, New York 10007

          By:   Edward Y. Kim, Esq.
                Assistant United States Attorney
         Case 1:12-cv-07868-MGC Document 4 Filed 03/01/13 Page 2 of 3



Cedarbaum, J.

     Petitioner Rene Tellier seeks to have his conviction

vacated under what he calls a “Hazel-Atlas action” for fraud on

the court.     For the reasons that follow, his petition is denied.

     Following a jury trial in 1994, Tellier was convicted of

participating in a racketeering enterprise, racketeering

conspiracy, robbery conspiracy, using and carrying a firearm

during and in relation to a crime of violence, and using

interstate commerce facilities in the commission of murder-for-

hire.    He is currently serving his sentence.

     After pursuing a direct appeal and filing a 28 U.S.C. §

2255 petition to vacate his conviction, Tellier filed a petition

under 28 U.S.C. § 2241 challenging his sentence.           Because

Tellier had already challenged his conviction and sentence under

§ 2255, I transferred his application to the Second Circuit as a

second or successive § 2255 petition requiring authorization.

Tellier v. Martinez, No. 10 Civ. 9209 (MGC) (S.D.N.Y. Dec. 23,

2010).    The Second Circuit denied Tellier’s application, finding

that it was correctly construed as a successive § 2255 petition

that failed to satisfy the standards for bringing such a

petition under 28 U.S.C. § 2255(h).         Tellier v. Martinez, No.

10-5269 (2d Cir. May 25, 2011).

     Tellier now argues that he is bringing an independent

action under the “fraud on the court” doctrine articulated in

                                      2
         Case 1:12-cv-07868-MGC Document 4 Filed 03/01/13 Page 3 of 3



Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238, 249-

50, 64 S. Ct. 997, 88 L. Ed. 1250 (1944).          He argues that the

government forged a grand jury transcript of one of the

government’s witnesses and that the government created false

grand jury indictments.       These arguments are precisely the same

arguments raised in Tellier’s successive § 2255 petition, which

the Second Circuit denied.       Whatever name Tellier gives to his

application, it attacks his underlying conviction and provides

no new basis for changing the conclusion previously reached on

the same arguments.      Gitten v. United States, 311 F.3d 529, 534

(2d Cir. 2002); Roccisano v. United States, No. 03 Civ. 1459

(RJW), 2003 WL 21396668, at *2 (S.D.N.Y. June 17, 2003).

Accordingly, the petition is denied.

     SO ORDERED.


Dated:      New York, New York
            February 28, 2013
                                          S/______________________________
                                               MIRIAM GOLDMAN CEDARBAUM
                                             United States District Judge




                                      3
